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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


    REALTIME DATA LLC d/b/a IXO,
                   Plaintiff,           Case No. 6:15-cv-468-RWS-JDL
              v.

    RIVERBED TECHNOLOGY, INC.,
                   Defendant.




                 Realtime’s Rule 59(e) Motion to Amend Judgment
                to Disregard Jury’s Superfluous Invalidity Findings
                        that Violate the Court’s Instructions
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           The Court’s verdict form, as drafted and agreed by the parties, instructed the jury to decide

   invalidity only if it found a claim to be infringed. It instructed the jury to “answer this next

   question” (regarding invalidity) “only for the claims you answered ‘yes’ to in questions 1 or 2

   above” (regarding infringement). Dkt. No. 608 at 4. The verdict further instructed: “if you did not

   answer ‘yes’” for any claim, “do not answer this question for that claim”:




   Id. The jury found that Riverbed does not infringe claims 1 and 14 of the ’530 patent. But despite

   the clear STOP instruction—emphasized in capital letters and written twice at the top of the page—

   the jury disregarded it and continued to answer Question 3 regarding the invalidity of these claims.

           Realtime respectfully asks the Court to exercise its broad discretion under Rule 59(e) 1 to

   enforce the STOP instruction and disregard the jury’s superfluous invalidity findings. Under Fifth
   Circuit law, verdict questions answered in violation of the court’s STOP instruction are improper

   surplusage and must be disregarded. Such findings are “by definition, irrelevant” and “do not

   constitute legitimate or viable findings of fact.” Removing these findings here is justified because

   the parties understood and agreed that the jury would not decide validity if it found the claims were

   not infringed. Realtime does not ask for a new trial, and the relief requested would not change the

   jury’s verdict of no liability for the ’530 patent.

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     In the alternative, relief under Rule 60(b) may also be appropriate. Rule 60(b) permits courts to
   relieve a party from a final judgment for reasons of “mistake, inadvertence, surprise, or excusable
   neglect”; “the judgment is void”; or “any other reason that justifies relief.”


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   I.      RELEVANT FACTS

           A.      The parties jointly draft the verdict form’s STOP instruction.

           Two months before trial, Realtime sent a proposed verdict form to Riverbed. Ex. 1 (March

   17, 2017 E-mail from Jay Chung to Matt Chiarizio); Ex. 2 (Proposed Verdict Form). The first two

   questions concerned infringement (Question 1) and invalidity (Question 2). The verdict form

   conditioned deciding validity upon a finding of infringement. Specifically, Realtime proposed the

   following STOP instruction before Question 2: “Answer this next question only as to those claims

   you answered ‘Yes’ to in Question 1 above—otherwise do not answer this question.” Ex. 2 at 3

   (all caps in original).

           A week later, Riverbed responded with its revisions to the verdict form. Ex. 3 (March 24,

   2017 E-mail from Matt Chiarizio to Jay Chung); Ex. 4 (Riverbed’s Revised Verdict Form).

   Riverbed changed the general infringement and invalidity questions into specific interrogatories

   on direct infringement (Question 1), induced infringement (Question 2), invalidity due to

   anticipation (Question 3), and invalidity due to obviousness (Question 4). Riverbed accepted

   Realtime’s proposal to make invalidity contingent on a threshold finding of infringement. In fact,

   Riverbed revised the STOP instruction to add another sentence reiterating that a finding of non-

   infringement moots invalidity. Riverbed’s revised STOP instruction read in full: “Answer this next

   question only for the claims you answered ‘Yes’ to in Questions 1 or 2 above [direct or induced

   infringement]. If you did not answer ‘yes’ for a claim in Questions 1 or 2, do not answer this
   question for that claim.” Ex. 4 at 4 (all caps in original). The parties adopted Riverbed’s language

   into the initial pretrial order that was filed with the Court. See Dkt. No. 487-4 at 4.

           B.      The jury disregards the verdict form’s STOP instruction.

           The parties went to trial in May 2017. On the last day of trial, the Court asked the parties

   to state their objections to the jury instructions and verdict form. Transcript of Jury Trial, May 26,

   2017, Morning Session, at 2:18—3:9, 96:25–97:12. Neither party objected to the verdict form. See

   id. at 97:19–99:24. The Court then charged the jury. Dkt. No. 608 at 4. As presented, the verdict
   form instructed the jury to answer four questions: (1) direct infringement; (2) induced


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   infringement; (3) invalidity due to obviousness; and (4) damages. The STOP instruction before

   Question 3 was included exactly as drafted and agreed by the parties. The verdict form also

   contained a similar STOP instruction before Question 4 (on damages) instructing the jury to assess

   damages only if it found a patent to be infringed and not invalid. Id. at 5.

          After deliberating, the jury returned a verdict of no direct infringement (Question 1) and

   no induced infringement (Question 2) for all asserted claims (claims 1 and 14) of the ’530 patent.

   Id. at 3. The jury, however, disregarded the STOP instruction and wrote “yes” for Question 3,

   indicating that claims 1 and 14 of the ’530 patent are invalid due to obviousness. The jury also

   disregarded the STOP instruction for Question 4 and wrote “0” damages for the ’530 patent, even

   though the patent was found to be not infringed and invalid. Id. at 5.

   II.    LEGAL STANDARD

          Federal Rule of Civil Procedure 59(e) permits a party to file a motion to alter or amend a

   judgment. In patent cases, for procedural questions under Rule 59, the Federal Circuit applies the

   law of the regional circuit where the district court sits. Bettcher Indus., Inc. v. Bunzl USA, Inc.,

   661 F.3d 629, 638 (Fed. Cir. 2011). The Fifth Circuit has held that district courts exercise

   “considerable discretion” in deciding a Rule 59(e) motion. See Edward H. Bohlin Co. v. Banning

   Co., 6 F.3d 350, 355 (5th Cir. 1993).

          For example, a district court is justified in using its discretion to grant a Rule 59(e) motion

   “to correct manifest errors of law or fact.” Waltman v. Int'l Paper Co., 875 F.2d 468, 473 (5th Cir.
   1989) (finding manifest errors of law or fact and reversing district court’s denial of Rule 59(e)

   motion). A Rule 59(e) motion asserting manifest error need not be preceded by an objection at

   trial. See Duran v. Town of Cicero, Ill., 653 F.3d 632, 642–43 (7th Cir. 2011).

          “Verdict forms are, in essence, instructions to the jury.” United States v. Reed, 147 F.3d

   1178, 1180 (9th Cir. 1998). A party must make its objections to the jury instructions before the

   instructions are delivered to the jury. Fed. R. Civ. Pro. 51. “[F]ailure to object to the wording of a

   special issue prevents a party from objecting to such wording on appeal.” McDaniel v. Anheuser-
   Busch, Inc., 987 F.2d 298, 306 (5th Cir. 1993).


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   III.     ARGUMENT
            A.      Because the jury’s invalidity findings violate the Court’s STOP instruction,
                    they are improper surplusage and must be disregarded.

            The Fifth Circuit has held that verdict answers given in violation of a court’s STOP

   instruction are improper surplusage and must be disregarded. White v. Grinfas, 809 F.2d 1157,

   1161 (5th Cir. 1987). Here, there can be no dispute that the jury’s invalidity findings violated the

   Court’s STOP instruction on page 4 of the verdict form. See Dkt. No. 608 at 4. In response to

   questions 1 and 2, the jury found that Riverbed does not infringe claims 1 and 14 of the ’530 patent.
   Id. at 2–3. These findings invoked the STOP instruction, which required the jury to skip question

   3 regarding invalidity. Id. at 4. By disregarding the Court’s instructions, the jury’s answers to

   question 3 were improper surplusage.

            Two Fifth Circuit opinions dismissed superfluous answers following a STOP instruction.

   In White, decided in 1987, the trial court submitted 19 verdict questions to the jury. 809 F.2d at

   1161. The instructions following question 3 stated if you answered “no” to question 3, then do not

   any of the following questions. Id. The jury answered “no” to question 3 but continued to answer

   the remaining questions. Id. On appeal, the Fifth Circuit held that because all the questions after

   question 3 “were predicated on an affirmative response to that question,” the subsequent answers

   necessarily conflicted with the answer to question 3. Id. Thus, by violating the Court’s STOP

   instruction, the jury’s subsequent answers were irrelevant and must be ignored (id.):

                    To effectuate best the intent of the jury, we hold that if the district
                    court has correctly found that the jury’s answer to a question that
                    was supposed to terminate further inquiry is clear and disposes of
                    the legal issues, on review we must ignore the jury’s necessarily
                    conflicting answers to any other questions. The subsequent
                    questions are by definition irrelevant in these circumstances, and
                    cannot be used to impeach the jury’s clear verdict. 2

            Likewise, in Carr v. Wal-Mart Stores, Inc., decided in 2002, the Fifth Circuit reaffirmed

   the 15-year-old holding of White. 312 F.3d 667, 673–674 (5th Cir. 2002). Carr involved a similar


   2   All emphasis added unless otherwise noted.


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   STOP instruction that told the jury to answer question 2 (regarding causation) only if it answered

   “yes” to question 1 (regarding negligence). Id. at 669. The jury answered “no” to question 1 and

   proceeded to answer “no” to question 2 as well. Id. at 674. The trial court noted that the jury’s

   answer to question 2 violated the instructions given, but nonetheless accepted the jury’s response

   to question 1 as dispositive on negligence and determined that the jury’s response to question 2

   was harmless. Id. But in ruling on plaintiff’s motion for a new trial, the trial court adopted the

   jury’s response to question 2 and used it as a basis for denying plaintiff’s motion. Id.

          The Fifth Circuit, relying on White, reiterated that verdict answers given in violation of the

   court’s express instructions are surplusage and must be disregarded. Id. at 673–74. The court held

   that the jury’s response to question 2 was “hardly harmless” and that it was improper for the trial

   court to give any weight to the jury’s superfluous response. Thus, “the trial court abused its

   discretion in utilizing the jury’s response to [question 2] as grounds for denying Carr’s motion for

   a new trial.” Id. at 675 (emphasis added).

          Other circuits have treated STOP instructions the same way. For example, in Floyd v. Laws,

   the Ninth Circuit addressed “the situation in which a jury proffers superfluous answers in violation

   of a trial court’s express instructions contained on the special verdict form.” 929 F.2d 1390, 1397

   (9th Cir. 1991). The Floyd court relied on White as well as Tanno v. S.S. President Madison Ves,

   830 F.2d 991, 993 (9th Cir. 1987), a case holding that trial courts must ignore parenthetical

   comments on the verdict form as surplusage. Id. Based on White and Tanno, the court held that
   answers issued in violation of the court’s instructions are akin to parenthetical comments and “do

   not constitute legitimate or viable findings of fact.” Id. “The trial court must therefore dismiss

   them as surplusage, as a matter of law.” Id.3 District courts have also held the same.4

   3 Because the jury correctly answered question 13 preceding the STOP instruction, “that answer
   disposed of the legal issue before the trial court and obviated any further finding of fact.” Floyd,
   929 F.2d at 1399. “At that point, the trial court was bound by law to disregard any answer to
   question 14 as surplusage” and that answer “never became a part of the special verdict.” Id.
   4
     See, e.g., E.E.O.C. v. Foot Locker Retail, Inc., No. C077-5472-BHS, 2009 WL 1174640, at *5–
   6 (W.D. Wash. Apr. 28, 2009) (“When a jury's special verdict includes findings that disregard a
   trial court's express instructions, the trial court must disregard them as surplusage, as a matter of
   law.” (citing Floyd)).; Aqua Massage Intern., Inc. v. Licht, No. 03–60493–CIV, 2004 WL


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          Together, White, Carr, and Floyd stand for the clear rule that verdict answers given in

   violation of a STOP instruction are improper surplusage. Such answers are “by definition,

   irrelevant” (White) and “do not constitute legitimate or viable findings of fact” (Floyd). Further,

   the court’s decision to accept them is not discretionary. They “must be” disregarded (White and

   Floyd) and adopting them may constitute “abuse of discretion” (Carr). The Court should follow

   these cases as binding and persuasive authority, and disregard the jury’s superfluous answers

   finding that claims 1 and 14 of the ’530 patent are invalid.

          B.      Under similar facts, Judge Gilstrap enforced a STOP instruction and
                  required the jury to remove superfluous invalidity findings.
          The rule against superfluous verdicts fully applies to patent cases and findings of

   infringement and validity. Judge Gilstrap recently confronted a situation nearly identical to this

   case and required the jury to remove superfluous invalidity findings after it found the patent was

   not infringed. Flexuspine, Inc. v. Globus Medical, Inc., No. 6:15-cv-201-JRG-KNM, Dkt. No. 258

   (E.D. Tex. Oct. 3, 2016) (attached as Ex. 5).

          In Flexuspine, the verdict form included a STOP instruction that read: “Answer the next

   question [on invalidity] only as to those claims you answered ‘yes’ to in question 1 above [on

   infringement]—otherwise do not answer this question.” Id. at 4 (all caps in original). Despite this

   instruction, the jury returned a verdict of non-infringement and invalidity. Id. at 5. Upon reviewing

   the verdict form, Judge Gilstrap required the jury to retire again and return a verdict consistent

   with the Court’s instructions. Id. The jury then returned a verdict of non-infringement but left

   invalidity unanswered. Id. After trial, the defendant moved to restore the jury’s original but

   improper finding of invalidity. Id.

          Judge Gilstrap denied the motion and held that his decision to enforce the STOP instruction

   was correct. Id. at 6–11. Judge Gilstrap noted that “a verdict form in a civil case with allegations

   of patent infringement operates as a type of jury instruction and should be considered with and


   2359346, *3 (S.D. Fla. Oct. 12, 2004) (finding jury’s answers to questions 15–22 mere surplusage
   even though STOP instruction omitted from verdict form due to scrivener’s error).


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 part-and-parcel of the final jury instructions.” Id. at 7. Judge Gilstrap further held that the Court

 has “broad discretion to refuse to consider interrogatories answered in violation of the court’s

 instructions.” Id. at 8. That discretion justified resubmitting the original verdict to the jury and

 requiring it to comply with the instructions. Id.

         Flexuspine arose in a different procedural posture from this case, but its reasoning is

 instructive. The key point is that Judge Gilstrap required the jury to revise its original verdict,

 which resulted in removing the superfluous invalidity findings. Flexuspine is thus perfectly

 consistent with White, Carr, and Floyd, which held that superfluous findings must be disregarded.

 If the jury’s original finding of invalidity had been entitled to any weight, resubmitting the issue

 to the jury would have been improper. But because the invalidity question had only been answered

 contrary to the Court’s instructions, Judge Gilstrap disregarded it and effectively rendered it a

 nullity. The Court should reach the same outcome here.

         C.      Although resubmission to the jury was permitted, it is not required.

         Although Flexuspine involved resubmitting the verdict to the jury to correct its superfluous

 invalidity findings, resubmission was not required here. Indeed, Carr makes clear that when it

 comes to improper surplusage, a district court can either resubmit the questions to the jury or

 simply “disregard[] the superfluous answers in their entirety.” 312 F.3d 667, 674 (5th Cir. 2002)

 (citing Richard v. Firestone Tire & Rubber Co., 853 F.2d 1259, 1260 (5th Cir. 1988)).

         Duk v. MGM Grand Hotel, Inc., is also dispositive on this point ). In Duk, the Ninth Circuit
 approved Floyd’s “no surplusage” rule and considered its applicability when the jury is still

 available. Id. at 1057. The court held when the jury is available, a district court had discretion to

 resubmit the verdict to the jury. Id. The court also held that resubmission is not required (or even

 possible) if the jury has been dismissed. Id. at 1098. In that situation, the court explained, the Floyd

 rule for dismissing surplusage applies with full force: “An entirely different situation is present

 where the jury has been dismissed. There, dismissal of surplusage under the Floyd rule makes

 sense. It is certainly preferable to ordering a new trial, and is very probably the best available
 instrument to determine the jury’s intent.” Id. Here—just as in White, Carr, and Floyd—the jury


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 is no longer available, so dismissing improper surplusage is not only proper but far preferable to

 ordering a new trial.

        D.      Riverbed waived its objections to the STOP instruction.

        Finally, Riverbed—by drafting and agreeing to the STOP instruction—has waived any

 objections it might have to the Court enforcing the instruction. Flexuspine is squarely on point:

 under similar circumstances, Judge Gilstrap found waiver. There, like here, the defendant accepted

 the STOP instruction by not objecting. Id. at 9–11. Judge Gilstrap held that “the parties knowingly

 acquiesced to the conditional submission of the issue of invalidity to the jury, as embodied by the

 stop instruction on the verdict form.” 5 Id. at 9. Further, the defendant, “through its experienced

 counsel, must have realized both the benefits and detriments of having such a conditional

 instruction.” Id. at 9. “Put simply, if the jury found in favor of [defendant] on the first question

 regarding infringement (as it did) then the jury could go home, but it would also never decide the

 issue of invalidity.” Thus, defendant “gained a strategic benefit by being able to communicate to

 the jury, in effect, if they found no infringement they were finished.” Id. at 11. The defendant

 knowingly accepted this benefit by not objecting. Id.
        Riverbed likewise waived its objections here. Not only did Riverbed consent to the STOP

 instruction, it drafted the final version of the instruction. Based on the instruction, the parties

 clearly intended to withdraw the question of validity from the jury upon a finding of non-

 infringement. Judge Gilstrap’s comments about the strategic tradeoffs of conditional submission
 directly apply here. Riverbed could (as it did) devote almost all its trial presentation to non-

 infringement and imply to the jury that a finding of non-infringement would obviate the need to

 decide invalidity. Riverbed likely benefited from the instruction—the jury found that claims 1 and



 5 The defendant also waived any right to submit invalidity to the jury as an independent
 counterclaim. Flexuspine at 9–10 (“The mere possibility that invalidity would never be decided by
 the jury in the event of a non-infringement finding is entirely consistent with submitting invalidity
 to the jury as an affirmative defense, but it is incompatible with submission as an independent
 counterclaim.” Thus, “the Court concludes [defendant] waived a right to submit that issue to the
 jury as a counterclaim by agreeing to and failing to object to its conditional submission.”).


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 14 of the ’530 patent were not infringed. Having agreed to the STOP instruction and presumably

 benefited from it, Riverbed cannot now complain if the Court enforces it.

 IV.    CONCLUSION

        Patent rights are property rights. Once a patent is granted, it “has become the property of

 the patentee, and as such is entitled the same legal protection as other property.” McCormick

 Harvesting Mach. Co. v. C. Aultman & Co., 159 U.S. 606, 609 (1898). The jury’s superfluous

 invalidity findings not only violate the Court’s instructions but unfairly deprive Realtime of rights

 to its own inventions. Because of the foregoing reasons, and because it would promote justice,

 Realtime’s motion should be granted.




  Dated: June 30, 2017                         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that the counsel of record who are deemed to have consented to electronic

 service are being served on June 30, 2017, with a copy of this document via the Court’s CM/ECF

 system per Local Rule CV-5(c) Any other counsel of record will be served by electronic mail,

 facsimile transmission and/or first class mail on this same date.



                                                       /s/ Philip X. Wang
